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 1                                                       October 12, 2021

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 8                           UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   SAM KIM,                              Case No.: 2:21-cv-06361-SB (MAAx)
                                           Assigned to Hon. Stanley Blumenfeld, Jr.
12              Plaintiff,
                                           ORDER GRANTING REQUEST FOR
13        vs.                              DISMISSAL OF THE ENTIRE ACTION
14   QUANG TROUNG; and DOES 1 to 10,
15              Defendants.
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Case 2:21-cv-06361-SB-MAA Document 15 Filed 10/12/21 Page 2 of 2 Page ID #:77



 1        Based on the stipulation for dismissal without prejudice and for good cause
 2   shown:
 3        IT IS HEREBY ORDERED that the entire action be dismissed without
 4 prejudice, with the parties to bear their own costs and attorneys’ fees.

 5

 6        SO ORDERED.
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 8        DATED: October 12, 2021                  _______________________________
 9                                                 United States District Court Judge

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